          Case
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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



BHARATKUMAR G. THAKKER,
et al.,
      Plaintiffs-Plaintiffs,
vs.
                                                   Case No. 1:20-cv-00480-JEJ
CLAIR DOLL, in his official capacity as
Warden of York County Prison, et al.,
                                                     Judge John E. Jones III
               Defendants-Defendants.



                         ORDER GRANTING MOTION TO
                          PROCEED PSEUDONYMOUSLY

Upon consideration of Plaintiffs’ Motion to Proceed Pseudonymously, for good
cause shown, and with Defendants’ consent, the motion is GRANTED. It is hereby
ORDERED that:

   1. Plaintiffs D.F. and T.S.N. may proceed pseudonymously, using their initials;

   2. Plaintiffs shall be referred to by their initials on the docket, in all pleadings
      and other documents related to this litigation, and in all proceedings held
      before this Court; and

   3. Defendants are prohibited from disclosing to any third parties any personally-
      identifying information that could reveal the identity of Plaintiffs.

                                              BY THE COURT


Date: April 20, 2020                          s/ John E. Jones III
                                              United States District Judge
